Case 1:03-cv-01012-.]DT-STA Document 117 Filed 06/07/05 Page 1 of 2 Page|D 159

 

 

 

United States District Court o g
WESTERN DISTRICT OF TENNESSEE 19 v‘ `%
Eastern Division .é»‘»"“§; z 61
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JUDGMENT IN A CIVIL CASE z 3 ¢g o
VZ;¢> g 'Q
JOHN coNNELL and LUCY CoNNELL, C_,’,.O "’
V.
WEBB REALTY, lNc.; JULE NANCE; cASE NUMBER; 1;03-1012-T

BILLY N. WEBB, JR.; ANNA WEBB;
JAMES N. MAYS; KAY W. MAYS;
AND DIANNE MOORE

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

iT |S ORDERED AND ADJUDGED that in compliance with the Findings of Fact

and Conciusions of Law entered in the above'sty|ed matter on 6/6/2005, JUDGMENT is
hereby entered in favor of the Defendants.

APPROVED :

L.M

JAM D. TODD
UNI D STATES DISTRICT JUDGE

ROBERT R. Di TROLIO

 

 

CLERK
®/7/05' BY: w
DATE 7 ’ DEPUTY CK‘ERK

This document entered on the docket sheet in compliance

with Rule 58 and/or 79(3) FRcP on (.OZ Ql ( is . \\i/}

   

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 117 in
case 1:03-CV-01012 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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